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 5
     Attorney for Defendant
 6   MONSANTO COMPANY
 7
 8                          UNITED STATES DISTRICT COURT
 9                       NORTHERN DISTRICT OF CALIFORNIA
10
11   IN RE: ROUNDUP PRODUCTS                      MDL No. 2741
     LIABILITY LITIGATION
12                                                Case No. 3:16-md-02741-VC
13
14   This document relates to:
15   ALL ACTIONS
16
17
                      NOTICE OF APPEARANCE ON BEHALF OF
18                      DEFENDANT MONSANTO COMPANY
19   TO THE COURT, ALL PARTIES, AND THEIR ATTORNEYS OF RECORD:
20         PLEASE TAKE NOTICE that Aaron H. Levine, of Arnold & Porter Kaye
21   Scholer LLP, hereby enters his appearance in the above-captioned matter as counsel
22   for defendant MONSANTO COMPANY, and respectfully requests that all pleadings,
23   notices, orders, correspondence, and other papers in connection with this action be
24   served upon him at the above address.
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               NOTICE OF APPEARANCE ON BEHALF OF DEFENDANT
                              3:16-md-02741-VC
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 1   DATED: November 13, 2018            Respectfully submitted,
 2                                        /s/ Aaron H. Levine
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